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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                        v.

 HATCHET SPEED,                                       Case No. 1:22-cr-00244 (TNM)

                        Defendant.


                                            VERDICT

       For the reasons stated in the oral ruling on March 7, 2023, based on the evidence

presented in the record, the Court finds the defendant, Hatchet Speed, GUILTY beyond a

reasonable doubt on all charges in the Superseding Indictment, Dkt. 38, namely:

       As to the charge of attempting to and in fact corruptly obstructing, influencing, and

impeding an official proceeding, that is, a proceeding before Congress, specifically, Congress’s

certification of the Electoral College vote as set out in the Twelfth Amendment of the

Constitution of the United States and 3 U.S.C. § 15–18, in violation of 18 U.S.C. §§ 1512(c) and

2;

       As to the charge of knowingly entering and remaining in a restricted building and

grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States

Capitol and its grounds, where the Vice President was temporarily visiting, without lawful

authority to do so, in violation of 18 U.S.C. § 1752(a)(1);

       As to the charge of knowingly, and with intent to impede and disrupt the orderly conduct

of Government business and official functions, engaging in disorderly and disruptive conduct in

and within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice
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President was temporarily visiting, when and so that such conduct did in fact impede and disrupt

the orderly conduct of Government business and official functions, in violation of 18 U.S.C.

§ 1752(a)(2);

       As to the charge of willfully and knowingly engaging in disorderly and disruptive

conduct within the United States Capitol Grounds and in any of the Capitol Buildings with the

intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either

House of Congress, and the orderly conduct in that building of a hearing before or any

deliberation of, a committee of Congress or either House of Congress, in violation of 40 U.S.C.

§ 5104(e)(2)(D);

       As to the charge of willfully and knowingly parading, demonstrating, and picketing in

any United States Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G).

       SO ORDERED.


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Dated: March 21, 2023                                TREVOR N. McFADDEN, U.S.D.J.




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